                                               Entered on Docket
                                               March 26, 2020
                                               EDWARD J. EMMONS, CLERK
                                               U.S. BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF CALIFORNIA


  1   Michael C. Fallon, SBN 088313
                                            Signed and Filed: March 25, 2020
      Michael C. Fallon, Jr. SBN 303082
  2
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      Telephone: (707) 546-6770
                                             ________________________________________
  4   Facsimile: (707) 546-5775              DENNIS MONTALI
      mcfallon@fallonlaw.net                 U.S. Bankruptcy Judge
  5   fallonmc@fallonlaw.net
  6
      Attorneys for Debtor
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  9
                                  UNITED STATES BANKRUPTCY COURT
 10                               NORTHERN DISTRICT OF CALIFORNIA

 11   In Re:                                                Case No. 20-10003
 12   Deborah Louise Bowman                                 Chapter 13
 13
                        Debtor.
 14                                   /

 15                                ORDER BY DEFAULT AUTHORIZING
                                    DEBTOR TO SELL REAL PROPERTY
 16
 17            The court having considered the application of the Chapter 13 Debtor, Deborah Louise

 18   Bowman, for an order by default authorizing the sale of her residence, the documents filed in
 19   support thereof, good cause appearing, it is hereby
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               ORDERED
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               1.     The Application is approved;
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 23            2.     Debtor is authorized to sell the single family dwelling commonly described

 24   as 3941 Golden Gate Avenue, Santa Rosa, CA, APN 035-091-005-000 (the “Property”), and

 25   more particularly described in Exhibit A attached to the said Motion, to Angel Rincon Gallardo
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      for $344,000 all cash.
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               3.     With the exception of the pre-petition arrears on the obligation to Thomas J.
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  1   Terry, III, Debtor is authorized to pay directly from escrow
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             (i) The ordinary and customary costs of sale.
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             (ii) The real property taxes due the County of Sonoma,
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             (iii) The principal obligation to Thomas J. Terry, III, c/o Superior Loan Servicing, that
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  6   is secured by a deed of trust document number 2019047442 of Official Records.

  7          (iv) The obligation to Dan Jensen d/b/a Redwood Judgment Recovery, that is secured by

  8   a judgment document number 2019048264 of Official Records,
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             (v) $75,000 to Deborah Bowman, as her homestead exemption;
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             (vi) The balance of the sale proceeds to the Chapter 13 Trustee pursuant to Debtor’s
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      proposed chapter 13 plan.
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 13          4.   The Chapter 13 Trustee is to be the disbursing agent on all pre-petition arrears that

 14   are owing to Thomas J. Terry, III.

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                                            **END OF ORDER*
 17
      Approved as to form:
 18
      /s/ Brisa Ramirez
 19   _____________________________
 20   Brisa Ramirez
      Attorney for David Burchard Chapter 13 Trustee
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  1                                  COURT SERVICE LIST
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